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 7
     Attorneys for Plaintiff Orion Home Systems, LLC
8
                          IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                    SAN FRANCISCO DIVISION
11
     IN RE: CATHODE RAY TUBE (CRT)                Case No. CV-07-5944 SC
12   ANTITRUST LITIGATION
     ____________________________________
13   This Document Relates to:
14
     Orion Home Systems, LLC v. Chunghwa          REQUEST FOR INTERNATIONAL
15   Picture Tubes, Ltd., et al.,                 JUDICIAL ASSISTANCE
     Case No. CV-08-0178 SC
16                                                Courtroom: 1, 17th Floor
                                                  Judge: The Honorable Samuel Conti
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     REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE; CASE NO. CV-07-5944 SC
 1          The United States District Court for the Northern District of California presents its
 2   compliments to the Appropriate Judicial Authority of Singapore, and requests international
 3   assistance to effect Service of Process to be used in a civil proceeding before this Court in the
 4   action titled Orion Home Systems, LLC v. Chunghwa Picture Tubes, Ltd., et al.,Case No. CV-08-
 5   0178 SC.
 6   I.     REQUEST
 7          This Court requests the assistance described herein as necessary in the interests of justice.
8    The assistance requested is that the Appropriate Judicial Authority of Singapore effect Service of
 9   Process of the: Summons in a Civil Case; Class Action Complaint; Order Setting Case
10   Management Conference/ Order Re Timely Filing of Pleadings, Briefs, Motions, Etc./ Standing
11   Order for All Judges of the Northern District of California; Consent to Proceed Before a United
12   States Magistrate Judge; and ECF Registration Information Handout on the below named
13   business entity, a named defendant in this action:
14                                  Hitachi Asia, Ltd.
                                    16 Collyer Quay, #20-00 Hitachi Tower
15                                  Singapore 049318
16
            The Appropriate Judicial Authority of Singapore is requested to serve the documents
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     listed above by personal service into the hands of a director, managing agent or other person
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     authorized to accept service, or in a manner of service consistent with the law of Singapore.
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     II.    FACTS OF THIS CASE
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            Plaintiff filed a class action complaint against several manufacturers of televisions,
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     computer monitors, and other electronic devices, including defendant Hitachi Asia, Ltd., for
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     conspiring to fix the price of cathode ray tube products (“CRTs”) in violation of United States
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     antitrust laws. Plaintiff purchased CRTs in the United States directly from defendants. Plaintiff
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     alleges that beginning at least as early as January 1, 1995, the exact date being unknown to
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     plaintiff, named defendants conspired, combined and contracted to fix, raise, maintain, and
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     stabilize the prices at which CRTs were sold in the United States. Defendants, by and through
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     their officers, directors, employees, agents, or other representatives, entered in a continuing
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     REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE; CASE NO. CV-07-5944 SC
 1   contract, combination or conspiracy to unreasonably restrain trade and commerce in violation of
 2   Section 1 of the Sherman Antitrust Act, 15 U.S.C. §1. As a result, Plaintiff was forced to pay
 3   more for CRTs than they would have paid in a competitive CRT market. For its injuries, Plaintiff
 4   is requesting treble damages and an injunction enjoining defendants’ anti-competitive activity
 5   under sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.
 6   III.      RECIPROCITY
 7             The United States District Court for the Northern District of California is willing to
8    provide similar assistance to the judicial authorities of Singapore.
 9   IV.       REIMBURSEMENT FOR COSTS
10             Counsel for plaintiff is willing to ensure reimbursement to the judicial authorities of
11   Singapore for costs incurred in executing this letter rogatory. If the cost of executing this Court’s
12   letter rogatory exceeds $500.00, the judicial authorities of Singapore are requested to contact the
13   following counsel for plaintiff:
14                                    R. Alexander Saveri
                                      Saveri & Saveri, Inc.
15                                    111 Pine Street, Suite 1700
                                      San Francisco, CA 94111
16                                    Telephone: 415-217-6810
                                      Facsimile: 415-217-6813
17                                    Email: rick@saveri.com
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     V.        TIME TO RESPOND
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               In acknowledgment of the additional time which is needed to prepare and file a
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     responsive pleading to the attached documents, the time period is extended to 45 days after
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     service.
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              2/13
     Dated: ____________, 2008.                              __________________________________
23                                                           The Honorable Samuel Conti
     [COURT SEAL]                                            United States District Court
24                                                           Northern District of California
                                                             450 Golden Gate Ave.
25                                                           San Francisco, CA 94102
                                                             United States of America
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     Crt.031
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     REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE; CASE NO. CV-07-5944 SC
